                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                         Plaintiff,           )
                                              )       Criminal Action No.
               v.                             )       18-00293-02-CR-W-DGK
                                              )
TREVOR SCOTT SPARKS,                          )
                                              )
                         Defendant.           )


                                        ORDER

       Pending before the Court is the motion (Doc. No. 252) and pro se correspondence (Doc.

No. 251) of defendant Trevor Sparks seeking the appointment of new counsel. Defendant Sparks

is represented by counsel appointed pursuant to the Criminal Justice Act. The reasons set forth

by defendant Sparks for the appointment of new counsel include his dissatisfaction and loss of

trust with counsel, his disagreement with the legal analysis of counsel, and counsel’s failure to

file certain motions requested by defendant Sparks. These reasons do not justify the appointment

of new counsel.

       Counsel was appointed from the Court’s Criminal Justice Act list of approved counsel

and he has extensive experience. While disagreements often arise between counsel and

defendants, that is not a sufficient reason to appoint new counsel. It is ultimately the

responsibility of counsel to decide what motions are justified by the facts and law. The refusal of

counsel to file specific motions is not unusual or objectionable. For these reasons, and for good

cause appearing, it is




         Case 4:18-cr-00293-DGK Document 253 Filed 06/17/20 Page 1 of 2
      ORDERED that the motion (Doc. No. 252) and pro se correspondence (Doc. No. 251) of

defendant Trevor Sparks seeking the appointment of new counsel are DENIED.




                                          /s/ JOHN T. MAUGHMER __
                                                    John T. Maughmer
                                              United States Magistrate Judge




                                            2

        Case 4:18-cr-00293-DGK Document 253 Filed 06/17/20 Page 2 of 2
